        Case 2:11-cr-20132-JWL          Document 95        Filed 02/24/12      Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                       Plaintiff,                             CRIMINAL ACTION
       v.
                                                      Case No. 11-cr-20132-09-KHV-DJW
CANDELARIA MORALES,

                       Defendant.


                                MEMORANDUM AND ORDER

       On December 21, 2011, a grand jury charged Defendant Candelaria Morales, as well as ten

other defendants, with theft of U.S. Department of Housing and Urban Development Section 8

Program housing rent subsidies, and making a false statement on an application for rent subsidies.1

This matter is before the Court on the United States’ oral motion for pretrial detention of Defendant

Morales (ECF No. 38) made on February 14, 2012. The Court held a hearing on the motion on

February 21, 2012. The Court has considered the motion and the statements of counsel during the

hearing, and, for the reasons set forth below, finds that the Motion should be denied and Defendant

should be released subject to certain conditions to be determined at a future hearing.

I.     Standards for Detention

       Under the Bail Reform Act of 1984, the Court must order the pretrial release of the accused,

with or without conditions, unless it “finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and




       1
        See Indictment (ECF No. 1), Counts 9-11, and 12.
       Case 2:11-cr-20132-JWL           Document 95         Filed 02/24/12      Page 2 of 7




the community.”2 In making this determination, the Court must take into account the available

information concerning:

       (1) the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence, a violation of section 1591 [sex trafficking of
       children], a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

               (A) the person’s character, physical and mental condition, family ties,
               employment, financial resources, length of residence in the community,
               community ties, past conduct, history relating to drug or alcohol abuse,
               criminal history, and record concerning appearance at court proceedings; and

               (B) whether, at the time of the current offense or arrest, the person was on
               probation, on parole, or on other release pending trial, sentencing, appeal, or
               completion of sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release. 3

       The government has the burden to prove the risk of flight by a preponderance of the

evidence.4 The government must prove a danger to other persons or the community by clear and

convincing evidence.5 The court must resolve all doubts regarding the propriety of release in the

defendant’s favor.6




       2
        18 U.S.C. § 3142(e).
       3
        18 U.S.C. § 3142(g).
       4
        See U.S. v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003) (citations omitted).
       5
        See id. (citing 18 U.S.C. § 3142(f)).
       6
        U.S. v. Chavez-Rivas, 536 F. Supp. 2d 962, 965 (E.D. Wis. 2008).

                                                 2
        Case 2:11-cr-20132-JWL          Document 95        Filed 02/24/12      Page 3 of 7




II.    Application of the Factors

       A.      Nature and Circumstances of the Offense

       Defendant is charged with three counts of theft of public money under 18 U.S.C. § 641, and

one count of making a false statement on a rent subsidy application under 18 U.S.C. § 1001. If

convicted of theft of public money, Defendant could face maximum penalties of imprisonment not

more than 10 years on each count. If convicted of making a false statement, Defendant could face

imprisonment of not more than 5 years. The government estimates the loss from Defendant’s

alleged theft of public money totals $17,130. At the detention hearing, the government estimates

that, if convicted, Defendant would face a sentence range of 10 to 16 months.

       The nature of the alleged offenses is theft by fraud and did not involve the use of violence

or weapons. Based upon the amount of monies involved, the probable penalty to be imposed is not

so great that Defendant would be expected to flee. Although the nature of the offense may reflect

a dishonest or deceitful character, as well as an ability to procedure fraudulent identity

documentation, the Court does not find these to be determinative in themselves as showing

Defendant to be a flight risk. The Court considers this factor to weigh in favor of pretrial release.

       B.      Weight of the Evidence

       The Court finds that while the record contains some evidence that Defendant knowingly and

unlawfully made materially false statements and representations on an application for rent subsidy

benefits, and thereby unlawfully stole rent subsidy payments to which she was not qualified to

receive, the evidence is not so overwhelming that it must weigh in favor of detention. The

indictment itself constitutes probable cause to believe that the offenses charged have been committed

and that Defendant has committed them. This factor is neutral.


                                                 3
        Case 2:11-cr-20132-JWL          Document 95        Filed 02/24/12      Page 4 of 7




       C.       History and Characteristics of Defendant

       Defendant is a 29-year old female citizen of Mexico. She moved to the United States 14

years ago and has not returned there. Defendant has three children (ages 4 to 11), all three of which

are U.S. citizens. She lives with her three children and her boyfriend of the past three years. She

has resided at that address since July 2011. The father of her oldest child resides in Mexico; the

father of her other two children resides in Kansas City. Her mother and three siblings all reside in

Kansas City. Her brother is a U.S. citizen. Defendant’s father is an alien resident who lives in

Texas. She has significant other family in the area.

       At the detention hearing, counsel for Defendant advised the Court that Defendant has started

the process of seeking legal status in the United States. Defendant presented the V-130 visa packet

prepared by Defendant’s father which includes the petition for alien relative he filed in March 2001.

The packet includes a documentation from immigration showing that the petition was approved with

a notice date of March 27, 2006.

       Immigration and Customs Enforcement (“ICE”) has lodged a detainer against Defendant due

her illegal status. There is a prior order for removal for Defendant that appears to be based on an

attempted illegal entry into the United States and imposter fraud when she was 14. The government

argues that Defendant is a risk of flight based upon the ICE detainer and prior removal order. While

a defendant’s status as a deportable alien alone does not mandate detention, it is a factor which

weighs heavily in the risk of flight analysis.7 As this Court has previously noted in the companion




       7
        See Chavez-Rivas, 536 F. Supp. 2d at 964 n. 3 (citations omitted).

                                                 4
        Case 2:11-cr-20132-JWL             Document 95         Filed 02/24/12       Page 5 of 7




cases of U.S. v. Lozano-Miranda,8and U.S. v. Garcia-Gallardo,9 the existence of the ICE detainer

is not in and of itself sufficient grounds to find that a defendant poses a flight risk. Under 8 C.F.R.

§ 215.2, “No alien shall depart, or attempt to depart, from the United States if his departure would

be prejudicial to the interests of the United States . . ..”10 The departure of an “alien who is needed

in the United States as . . . a party to[] any criminal case . . . pending in a court in the United States”

is deemed prejudicial to the interests of the United States.11 The departure of such a criminal

defendant alien may be temporarily prevented under 8 C.F.R. § 215.3, which provides that the

criminal defendant alien “may be permitted to depart from the United States with the consent of the

appropriate prosecuting authority, unless such alien is otherwise prohibited from departing under

the provisions of this part.”12

        The government also argues that Defendant should be detained because she had shown that

she can obtain fraudulent documents to establish a different identity. The Court finds that the

government has not carried its burden in this regard. While recognizing that there is some risk of

flight by Defendant due to the ICE detainer, the Court finds this risk is outweighed by Defendant’s

established family ties to the community, the ages of her children, and the length of time she has

lived in the community, the nature of the charges, and her minor prior criminal record. The Court

determines that there are conditions of release that could be set to reasonably assure Defendant’s



        8
         No. 09-cr-20005-KHV, 2009 WL 113407, at *3 n.13 (D. Kan. Jan. 15, 2009).
        9
         No. 09-cr-20005-KHV, 2009 WL 113412, at *2 n.13 (D. Kan. Jan. 15, 2009).
        10
             8 C.F.R. § 215.2(a).
        11
             8 C.F.R. § 215.3.
        12
             Id. (emphasis added).

                                                    5
        Case 2:11-cr-20132-JWL            Document 95      Filed 02/24/12     Page 6 of 7




presence at trial. That Defendant could obtain fraudulent documents to establish a new identity,

which are reportedly widely available in the community, does not outweigh the totality of all other

considerations in determining whether Defendant is a flight risk. This factor weighs in favor of

pretrial release.

        D.        Danger to the Community

        Defendant has some minor criminal history. Other than the imposter and fraud at entry in

charge in 1997, she has four outstanding warrants in Kansas City, Kansas for Writ of Execution

Orders for bond amounts $140, $500, $230, and $630. Although Defendant has outstanding

warrants, they appear to be issued based upon municipal traffic violations. Nothing in Defendant’s

criminal history suggests any history of violence, use of weapons, illegal drug use, or anything

suggesting that Defendant is a danger to the community or others. The United States has not shown

that Defendant poses any risk of danger to the community or other persons. Thus, the Court finds

that this factor weighs in favor of pretrial release.

III.    Conclusion

        Having considered all relevant pleadings and the statements of counsel during the February

21, 2012 hearing, the Court finds that Defendant should be released. As set out above, under the

Bail Reform Act, the Court must order the pretrial release of Defendant, with or without conditions,

unless the Court “finds that no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the community . . ..”13

Based on the relevant pleadings and the statements of counsel during the hearing, the Court

concludes that the United States has not met its burden to show that no set of conditions of release



        13
             18 U.S.C. § 3142(e).

                                                   6
       Case 2:11-cr-20132-JWL          Document 95       Filed 02/24/12      Page 7 of 7




will assure Defendant’s pretrial presence and protect the community and other persons from danger.

       IT IS THEREFORE ORDERED that the United States’ oral motion for pretrial detention

of Defendant Candelaria Morales (ECF No. 38) is denied. Defendant will be released subsequent

to a hearing to determine the conditions of Defendant’s release.

       IT IS FURTHER ORDERED that a hearing to set the conditions of Defendant’s pretrial

release is set for February 29, 2012 at 10:00 a.m.

       IT IS FURTHER ORDERED that Pretrial Services will provide proposed conditions of

release no later than February 27, 2012.

       IT IS SO ORDERED.

       Dated in Kansas City, Kansas on this 24th day of February 2012.

                                                     s/ David J. Waxse
                                                     David J. Waxse
                                                     U.S. Magistrate Judge




                                                7
